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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11    L.A.H.,                                          Case No. 5:20-cv-01326-SHK
12                                  Plaintiff,
13                       v.
                                                       JUDGMENT
14    KILOLO KIJAKAZI, Acting
      Commissioner of Social Security,
15
                                    Defendant.
16
17
18         It is the judgment of this Court that the Social Security Commissioner’s
19   decision is REVERSED and this case is REMANDED to the Social Security
20   Administration for further proceedings consistent with this Court’s Order.
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23
     DATED: 11/5/2021                ________________________________
24                                   HON. SHASHI H. KEWALRAMANI
25                                   United States Magistrate Judge

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